Case 5:22-cv-05238-TLB-CDC Document 74              Filed 07/11/24 Page 1 of 49 PageID #: 841




                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                FAYETTEVILLE DIVISION

 JOHN WILLIAM SCHARNHORST, III                                                        PLAINTIFF

                v.             Civil No. 5:22-CV-05238-TLB-CDC


 CHIEF DEPUTY JAY CANTRELL; CORPORAL CAUDLE;
 CORPORAL DOMINICK NUNZIATO; DEPUTY FRYE;
 DEPUTY BECK; DEPUTY DRUMRIGHT; DEPUTY BILBREY; and
 DEPUTY MARTINEZ                                                                  DEFENDANTS


          REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE

        Plaintiff John William Scharnhorst, III, a prisoner, filed the above-captioned civil rights

 action pursuant to 42 U.S.C. § 1983. (ECF No. 1). Pursuant to the provisions of 28 U.S.C.

 § 636(b)(1) and (3), the Honorable Timothy L. Brooks, United States District Judge, referred this

 case to the undersigned for the purpose of making a Report and Recommendation. Currently

 before the Court is Defendants’ Motion for Summary Judgment. (ECF No. 34).

                                I.      PROCEDURAL POSTURE

        This Court previously described the background of this case in its Report and

 Recommendation denying Plaintiff’s Motion for Contempt (ECF No. 64) and that background is

 incorporated here by reference. Relevant here, upon preservice review of Plaintiff’s Complaint

 pursuant to 28 U.S.C. § 1915A(a), this Court recommended that Plaintiff’s individual and official

 capacity claims against Defendants Cantrell, Caudle, Fry, 1 Beck, Nunziato, Drumright, Bilbrey,
                                                          0F




 and Martinez proceed but that claims against all other defendants be dismissed without prejudice.



 1
   While Defendant Fry is spelled “Frye” in the case caption, Defendants spell it “Fry” throughout
 their Motion for Summary Judgment. This Court, therefore, does the same.
                                                 1
Case 5:22-cv-05238-TLB-CDC Document 74                Filed 07/11/24 Page 2 of 49 PageID #: 842




 (ECF No. 8). Judge Brooks adopted those recommendations without objection. (ECF No. 11).

 Thus, the following of Plaintiff’s claims are pending:

                (1) Plaintiff contends that from January 20, 2022, to January 23,
                    2022, and from August 1, 2022, to August 2, 2022, Defendant
                    Caudle failed to properly maintain the Washington County
                    Detention Center (“WCDC”) HVAC system, causing him to
                    nearly freeze to death from the cold for four days and experience
                    sweltering heat for two days in violation of the Fourteenth
                    Amendment Due Process Clause and his Eighth Amendment
                    right to be free from cruel and unusual punishment. Plaintiff
                    identifies Defendant Caudle in his individual and official
                    capacity, on the grounds that “subjecting detainees to inhumane
                    conditions of confinement is completely acceptable, common
                    widespread practice, trained, condoned, and encouraged by the
                    management down the entire chain of command.” (ECF No. 1,
                    p. 6).

                (2) Plaintiff says that from December 10, 2021, to January 31, 2022,
                    Defendant Caudle was notified that his toilet was leaking,
                    “causing a pool of foul water on the floor of his cell,” but
                    Defendant Caudle neglected to repair the issue. (ECF No. 1, p.
                    7). According to Plaintiff, he was eventually moved to a
                    different cell, but he continued to experience plumbing issues.
                    Specifically, Plaintiff contends that from July 10, 2022, to
                    November 10, 2022, his toilet would fill with sewage from other
                    cells. Plaintiff says that on July 15, 2022, his toilet became
                    unusable and filled with “raw sewage,” and on the night of July
                    19, 2022, the sewer backed up raw sewage into his cell. Id.
                    Plaintiff contends that Defendant Caudle was notified of these
                    problems, but he failed to properly address them. Id. Plaintiff
                    identifies Defendant Caudle in his individual and official
                    capacities, contending that “neglecting plumbing and maintenance
                    issues is completely acceptable, Caudle’s failure is common
                    knowledge and regularly joked about . . . He is protected from
                    on high by Tim Helder and Jay Cantrell.” Id. at p. 9.

                (3) Plaintiff says that from August 22, 2022, to October 3, 2022,
                    Defendant Caudle failed to repair the broken light in his cell,
                    leaving him in a dark cell “for weeks,” even though Defendant
                    Caudle was both responsible for and aware that his light needed
                    to be replaced. (ECF No. 1, p. 10). Plaintiff identifies Defendant
                    Caudle in his individual and official capacities, on the grounds

                                                  2
Case 5:22-cv-05238-TLB-CDC Document 74                Filed 07/11/24 Page 3 of 49 PageID #: 843




                    that Defendant Caudle “refuses to make repairs to all sorts of
                    things and this is perfectly acceptable to Randall Denzer and all
                    of his subordinates. Tim Helder and Jay Cantrell do nothing to
                    ensure the maintenance of the jail.” Id. at pp. 9, 13.

                (4) Plaintiff contends that from December 10, 2021, to December 7,
                    2022, Defendants “Frye, Beck, Nunziato, Drumright, Bilbrey,
                    and Martinez have used [the] issue of filth [at the WCDC] to
                    harass and antagonize [him] by forcing themselves into [his] cell
                    with brooms and mops contaminated with urine and feces and
                    spreading it all over [his] floor.” (ECF No. 1, p. 12). Plaintiff
                    says that he has “written letters to Chief Deputy Cantrell, Major
                    Randall Denzer and had in person meetings with Captain Ake
                    and as of [December 7, 2022] there is no trash can in A-1 and
                    there is sewage in the cracks (expansion joints) of the floor, mold
                    in the showers and insects breeding in the filth and flying around
                    the cell block.” Id.

        On October 24, 2023, Defendants filed a Motion for Summary Judgment on the merits,

 along with a statement of facts and twenty-two (22) exhibits in support, including several

 surveillance videos. (ECF Nos. 34-35). After four requests for an extension of time to respond

 to Defendants’ Motion for Summary Judgment (ECF Nos. 39, 43, 57, 63), on March 29, 2024,

 Plaintiff submitted his response and a 252-page statement of disputed facts. (ECF Nos. 66-67).

 On April 3, 2024, this Court denied as moot Plaintiff’s fourth request for an extension of time to

 submit his response. (ECF No. 68). On April 22, 2024, Plaintiff filed a motion requesting to

 supplement his response with a disciplinary request he submitted on the WCDC kiosk system on

 November 21, 2022. (ECF No. 70). Defendants did not object and provided the video of the

 incident referenced in the disciplinary request. (ECF Nos. 71-72). This Court subsequently

 granted that unopposed motion. (ECF No. 73). Defendants have not filed a separate reply.

 Defendants’ Motion for Summary Judgment is ready for the Court’s consideration.




                                                  3
Case 5:22-cv-05238-TLB-CDC Document 74                   Filed 07/11/24 Page 4 of 49 PageID #: 844




                                     II.    LEGAL STANDARD

        The court “shall grant summary judgment if the movant shows that there is no genuine

 dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

 Civ. P. 56(a). “A dispute is genuine if the evidence is such that it could cause a reasonable jury to

 return a verdict for either party.” Ward v. Olson, 939 F. Supp. 2d 956, 961 (D. Minn. 2013) (citing

 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986)). A fact is material only when its

 resolution would affect the outcome of a case. Anderson, 477 U.S. at 248.

        Further, the moving party bears the initial burden of identifying “those portions of the

 record which it believes demonstrate the absence of a genuine issue of material fact.” Jackson v.

 United Parcel Serv., Inc., 643 F.3d 1081, 1085 (8th Cir. 2001). In response, the nonmoving party

 “may not rest upon mere denials or allegations but must instead set forth specific facts sufficient

 to raise a genuine issue for trial.” Forrest v. Kraft Foods, Inc., 285 F.3d 688, 691 (8th Cir. 2002).

                                             III.        FACTS

        This Court starts with the facts, viewing all the evidence and inferences in the light most

 favorable to the Plaintiff, the nonmoving party. 2 Anderson, 477 U.S. at 255.
                                                    1F




     A. Washington County Detention Center Policies and Procedures

        On November 18, 2021, Plaintiff was booked into the Washington County Detention



 2
   In support of their respective positions, both parties submitted copies of Plaintiff’s kiosk
 submissions and excerpts from the “WCDC Help Desk Tickets Report From 11/18/21 Through
 01/17/2023” (“WCDC Help Desk Report”). See, e.g., (ECF No. 35–3 (Plaintiff’s kiosk
 submissions provided by Defendants)); (ECF No. 35-7 (portion of the WCDC Help Desk Report
 submitted by Defendants)); (ECF No. 67, pp. 136–238, 243–245; 250 (Plaintiff’s kiosk
 submissions provided by Plaintiff)); (ECF No. 67, pp. 32-135 (portion of the WCDC Help Desk
 Report submitted by Plaintiff)). While there is significant overlap in the record, for clarity, when
 referencing a particular kiosk entry or maintenance ticket, the Court will only identify one docket
 entry, unless otherwise noted.
                                                 4
Case 5:22-cv-05238-TLB-CDC Document 74                Filed 07/11/24 Page 5 of 49 PageID #: 845




 Center (“WCDC”) on several felony charges.           (ECF No. 35-2).     According to the WCDC

 Policies and Procedures Manual (“the WCDC Manual”), “[t]he primary objective of the detention

 center is to maintain positive control over incarcerated individuals and to ensure an arrestee’s

 timely appearance in court. It is NOT to inflict punishment.” (ECF No. 35-11, p. 6). Further,

 relevant here, the WCDC Manual provides that “[t]he detention center shall be kept at a reasonable

 temperature and be properly ventilated at all times.          Sufficient lights shall be provided

 commensurate with the time of day. Lighting shall be sufficient to read, write, and work during

 daylight hours. Lighting during nighttime hours shall be sufficient for officers and detainees to

 move around safely within the detention center.” Id. at p. 5. The WCDC Manual, moreover,

 establishes that it is the responsibility of staff to take “corrective action” “immediately whenever

 possible.” Id.

        The Washington County Detention Center Handbook (“WCDC Handbook”) is available

 for inmates to read on the WCDC kiosk system. (ECF No. 35-12, p. 3). According to the WCDC

 Handbook, “[d]etainees shall clean their cells, cellblock, and day room each morning … Cleaning

 supplies will be delivered three times per day, after each meal, and you will be required to clean

 the dining area. The facility staff, as required, shall issue cleaning materials …The detention staff

 will issue supplies for cleaning the shower, toilet, and sink area.” Id. at p. 10. “Failure to comply

 with the cleaning requirements will result in the suspension of privileges.” Id.

        Further, the WCDC Handbook explains that “[t]he heating, air conditions, and ventilation

 are computer controlled.     Fresh air is brought in from outside, filtered and then dispersed

 throughout the Detention Center. Stale air is exhausted. It is not re-circulated. Adjusting the

 air temperature is not instantaneous. Be patient.” Id. at p. 17. The WCDC Handbook warns


                                                  5
Case 5:22-cv-05238-TLB-CDC Document 74                Filed 07/11/24 Page 6 of 49 PageID #: 846




 against tampering with the plumbing “in any manner,” explaining that “if [an inmate] damage[s]

 the plumbing, [the inmate] will be subject to criminal charges and/or a civil suit.” Id. The

 WCDC Handbook emphasizes, in bold, italicized, and underlined text, “[d]o not interfere, block,

 or tamper with the vents or any part of the ventilation system. The system is difficult to repair,

 and such actions will result only in your discomfort.” Id.

         The State of Arkansas Department of Corrections (“ADC”) inspected the WCDC on July

 15, 2021, and April 13, 2022. (ECF No. 35-22, pp. 1, 11). The July 2021 inspection report (“2021

 ADC Report”) lists Randall Denzer as the facility supervisor (ECF No. 35-22, p. 1), and identifies

 several challenges the facility is facing due to overcrowding, specifically noting:

                Due to lack of space, in recent years, due to the inmate population
                count, the site has and is aging at a more rapid pace. With high
                numbers of inmates, staffers are not able to address needed
                maintenance goals/physical plant objectives. (As an example, due to
                current trends, the staffers are not able to properly update a number
                of plumbing fixtures and general components such as doors).

                 ...

                Due to lack of space, it appears that the climate control
                equipment/system struggles as to works to maintain temperature
                goals.

 Id. at p. 3.

         The report further concludes that “due to the above [overpopulation] trends, some areas of

 the building do not comply with Arkansas Jail Standards.           The non-compliance is due to

 space/housing issues.” Id. at p. 4. The 2021 ADC Report itself identifies the WCDC as being

 “out of compliance” in the following areas: (1) separating inmates by “class;” (2) providing

 exercising outside of the cell area; (3) the cells’ “footage requirement;” and (4) providing adequate

 space for administrative and staff functions. Id. at pp. 6, 8, 9. The 2021 ADC Report also notes

                                                  6
Case 5:22-cv-05238-TLB-CDC Document 74                 Filed 07/11/24 Page 7 of 49 PageID #: 847




 concerns with staffing levels. Id. at pp. 4, 5. Relevant here, however, the 2021 ADC Report

 identifies that the facility is “in compliance” with (1) garbage being removed from the cells

 immediately after meals; (2) providing adequate lighting; and (3) maintaining the temperature “at

 a proper level.” Id. at pp. 7, 9.

        The April 2022 ADC Inspection Report (2022 ADC Report) also names Randall Denzer

 as the facility supervisor, Id. at p. 11, and identifies several challenges facing the facility due to

 overcrowding and staffing levels. Specifically, the 2022 ADC Report notes:

                Due to the current staff level, the site appears to age at a more rapid
                pace. It appears that employees struggle as they work to protect
                county property (vandalism activity). Based on current jail
                activity; the site needs more staffers.

                 ...

                Due to current staff level, the site often struggles in terms of training
                goals, paperwork, sanitation, supervision, safety goals, emergency
                protocols, turnover rates, administrative services, and like aspects.
                The Review Committee urges the County to continue its work with
                respect to recruitment and retention.

                 ...

                The current inmate population/composition and agency work has
                exceeded the detention center’s operational capacity.

                 ...

                Due to lack of space, in recent years, due to the inmate population
                count, the site has and is aging at a more rapid pace. With a high
                number of inmates, staffers are not able to address needed
                maintenance goals/physical plant objectives. (As an example, due to
                current trends, the staffers are not able to properly update a number
                of plumbing fixtures and general components such as doors).

                 ...

                Due to lack of space, it appears that the climate control equipment
                system struggles as it works to maintain temperature goals.

                                                   7
Case 5:22-cv-05238-TLB-CDC Document 74                Filed 07/11/24 Page 8 of 49 PageID #: 848




                 ...

                Due to lack of space, it appears that the employees struggle as they
                attempt to provide programming, support service activities, and like
                aspects.

                ...

                Due to the above [overcrowding and staffing] trends, some areas of
                the locations do not comply with Arkansas Jail Standards. The non-
                compliance is due to space/housing issues.

 (ECF No. 35-22, pp. 12, 13, 14, 15).


         The 2022 ADC Report identifies the WCDC as being “out of compliance” in the following

 areas: (1) inmates being separated by class; (2) sufficient personnel being on duty at all times; (3)

 providing exercise outside of the cell area; (4) cells meeting the “footage requirement;”

 (5) providing adequate space for administrative and staff functions.        Id. at pp. 17, 19, 20.

 Further, relevant here, the 2022 ADC Report says that the WCDC is “in compliance” with: (1)

 garbage being removed from the cells immediately after meals; (2) providing adequate lighting;

 and (3) maintaining the temperature at a proper level. Id. at pp. 18, 20.

     B. Defendant Sam Caudle

         Defendant Sam Caudle is a civilian employee of the Washington County Sheriff’s Office

 (“WCSO”). (ECF No. 35-14, p. 1). He “perform[s] maintenance in and around the Washington

 County Sheriff’s office and Detention Center.” Id. Defendant Caudle has “experience and

 training in maintenance and [has] been working in building maintenance for many years.” Id.

 “That training has been provided by professionals or, in some instances, by the manufacturer of

 products used in the Washington County Detention Center such as the plumbing fixtures.” Id. at

 p. 2.


                                                  8
Case 5:22-cv-05238-TLB-CDC Document 74                 Filed 07/11/24 Page 9 of 49 PageID #: 849




        Because he is a civilian employee, Defendant Caudle is not part of the WCSO chain of

 command and thus holds no rank. Id. Defendant Caudle is not trained or supervised directly by

 the Chief Deputy or by WSCO personnel. Id. Specialized Deputy Korey Weathers is Caudle’s

 supervisor and the “only time that the Chief Deputy is contacted by maintenance is relative to the

 need to make a large expenditure for repair or to purchase a piece of equipment.” Id. at pp. 1-2.

 Defendant Caudle’s work schedule is Monday through Friday, 5:00 am to 1:00 pm. Id. at p. 2.

 “If an officer in charge of the detention center deems a maintenance situation an emergency or

 serious security issue outside of [his] [regular] work schedule, they can call [him] and [he] will

 report to work to perform the repairs as quickly as possible in order to maintain the safe operation

 of the Washington County Detention Center.” Id. at p. 2. According to Defendant Caudle, the

 officer in charge of the detention center determines, at the officer’s discretion, whether a situation

 constitutes an emergency, and he is not aware of a problem unless the officer calls and notifies

 him. Id. Examples of situations that could be considered an “emergency” include, “a water line

 burst, a power outage, an air compressor failure (making a door not operational), or an inmate riot

 which resulted in damage or destruction to necessary features of the detention center.” Id.

 Defendant Caudle says that he is “often called in to handle urgent safety issues; sometimes two or

 three times per week.” Id.

        According to Defendant Caudle, “Sheriff’s office personnel enter maintenance issues into

 the system by placing a ‘ticket’ in the help desk listing. The maintenance staff, including myself,

 then goes through the issues and perform maintenance, or repair or replace non-working or

 damaged items as soon as possible.” Id. at p. 3. Defendant Caudle says that “[w]hen [he]

 arrive[s] at work each weekday morning, [he] review[s] the maintenance tickets and handle[s] the


                                                   9
Case 5:22-cv-05238-TLB-CDC Document 74                  Filed 07/11/24 Page 10 of 49 PageID #: 850




  most urgent or safety sensitive issue first, working [his] way down the list as quickly as possible.”

  Id. Defendant Caudle explains that “[o]ften, when [he] is in the building, if an issue arises, a

  detention officer or supervisor will report the issue to [him] verbally and [he] will handle it

  immediately. In that case, the issue or repair will not be documented in the ‘help desk-tickets’

  listing.” Id. Further, “[w]hen a problem is reported with the air conditioning, heating, ventilation,

  plumbing, or electrical features of the building, a maintenance employee, like [Defendant Caudle],

  will check the problem and repair it if possible. If the problem is more significant and [maintenance

  is] not able to repair it [themselves], outside professionals will be brought in for the repair.” Id.

  at p. 2.

             Defendant Caudle says that he “attempt[s] to close maintenance tickets that are in the

  system on the same day the work is done, but sometimes it could be delayed until the next day or

  so, depending on how much work there is to be done or if it completed late in [his] work day or

  when [he] is called in at a time when [he] is not scheduled to work.” Id. at p. 3. He explains that

  “[r]epairs or replacements may be delayed for various reasons. For instance, they may be delayed

  because of the volume of work that needs to be done; because the issue is not a safety or security

  issue; because personnel are limited; or because other parts or professionals are necessary.” Id.

  Defendant Caudle says that he “always attempt[s] to respond to the most serious security issues

  first.” Id.

             Defendant Caudle had a performance evaluation on December 1, 2021. (ECF No. 35-8).

  That evaluation shows that the evaluator rated Defendant Caudle at either a “4” (“at times exceeds

  job requirements” or a “5” (“consistently exceeds job requirements”) in all categories, including

  “problem solving/judgment,” “productivity/attendance,” “skill level,” and “dependability.” Id. In


                                                   10
Case 5:22-cv-05238-TLB-CDC Document 74              Filed 07/11/24 Page 11 of 49 PageID #: 851




  the remarks section of the “skill level” category, the evaluator noted that “Sam shows great

  knowledge of the equipment and the facility.” Id. at p. 2. In ranking Defendant Caudle’s “skill

  level,” the evaluation directs the evaluator to consider the extent to which he “demonstrates

  knowledge and skill of a specific job; demonstrates effective use of equipment; exhibits

  professional skills per job requirements; efficient and effective use of District resources; and

  maintains certifications as required.” Id. at p. 3. Plaintiff asserts that he requested Defendant

  Caudle’s performance review for 2022 but was told that “there is no record of an evaluation in

  2022.” (ECF No. 67, p. 3).

      C. Claims

                                            Claim One

         Plaintiff contends that he experienced “freezing” temperatures from January 20, 2022, to

  January 23, 2022, and “sweltering” heat from August 1, 2022, to August 3, 2022. (ECF No. 1, p.

  5). He says that “[c]ivil rights violations is standard operating procedure [at the WCDC].

  Leaving detainees in freezing temps or sweltering conditions is a common occurrence.” 32F




                a. Freezing Temperatures

         Starting with the claims of “freezing temperatures,” on January 22, 2022, submitted the

  following grievance on the WCDC kiosk system:

                It’s been freezing in here for 2 days. We’ve notified the floor
                guards and the tower through the intercom. You are violating our
                8th amendment rights by subjecting us to cruel and unusual
                punishment. We are sick with COVID and freezing to death now
                as well.



  3
   While Plaintiff’s “claim one” includes additional claims, those claims were dismissed after the
  Court’s preservice review for failure to state a claim as a matter of law pursuant to 28
  U.S.C. § 1915A(b)(1). See (ECF Nos. 8, 11).
                                                 11
Case 5:22-cv-05238-TLB-CDC Document 74                Filed 07/11/24 Page 12 of 49 PageID #: 852




  (ECF No. 35-3, p. 14). 4 Sgt. Bradshaw responded the next day, writing, “Maintenance is being
                         3F




  contacted about the heating issues in A-Pod.” Id.

         Plaintiff’s WCDC housing history indicates that he was housed in Pod “A,” Cell “R” from

  December 5, 2021, to February 1, 2022. (ECF No. 35-9, p. 1). The temperature logs for “Pod A

  R-Block” reflect that on January 20, 2022, it was 67 degrees Fahrenheit at 6:00 pm, but was

  otherwise approximately 71 degrees Fahrenheit. (ECF No. 35-6, p. 1). These temperature logs

  show that on January 21, 2022, the temperature was between 70–71 degrees Fahrenheit from 1:00

  am to 5:00 pm, and then decreased to 59.5 degrees Fahrenheit at 6:00 pm, but then increased to 67

  degrees Fahrenheit at 7:00 pm, was approximately 68 degrees Fahrenheit from 8:00 pm to 10:00

  pm and then decreased to 67.5 degrees Fahrenheit at 11:00 pm. Id. at pp. 1-2.

         According to these temperature logs, on January 22, 2022, the temperature started at 67.5

  degrees Fahrenheit at 12:00 am (midnight) and then decreased throughout the day until it hovered

  around 61–60 degrees Fahrenheit from 2:00 pm to 10:00 pm before ending the day at 11:00 pm at

  59.5 degrees Fahrenheit. Id. at p. 2. On January 23, 2022, the temperature started at 59.5 degrees

  Fahrenheit at 12:00 am (midnight) and then increased throughout the day until it was 70 degrees

  Fahrenheit by 10:00 pm. Id. at pp. 2-3. On January 24, 2022, the temperature started at 70.5

  degrees Fahrenheit and then increased to 71 degrees Fahrenheit throughout the day, hitting a high

  of 72 degrees Fahrenheit by 9:00 pm before ending the day at 71.5 degrees Fahrenheit by 11:00

  pm. Id. at p. 3.

         The WCDC Help Desk Report shows that on January 23, 2022, Dustin Carter entered a




  4
    The summary judgment record reflects that Plaintiff complained about the cold temperatures at
  least twice on January 22, 2022. See (ECF No. 35-3, p. 22).
                                                12
Case 5:22-cv-05238-TLB-CDC Document 74                Filed 07/11/24 Page 13 of 49 PageID #: 853




  maintenance request ticket because “R-Block heat is not turning on, having lots of complaints from

  detainees.” (ECF No. 35-7, pp. 1-2). That report shows that Defendant Sam Caudle closed the

  ticket on January 24, 2022, reporting that “[h]eat is working fine at this time.” Id. at p. 2.

                 b. “Sweltering Heat” from August 1, 2022, to August 2, 2022

         With respect to the claims of excessive heat, Plaintiff says that from August 1, 2022, to

  August 2, 2022, the HVAC “quit working in Q block.” (ECF No. 1, p. 6). He says that the

  “temperature became sweltering and the issue was again neglected by . . . Caudle . . .” 5 Id.
                                                                                           4F




         On August 1, 2022, Plaintiff entered a grievance, saying, “[t]he HVAC is not working in

  A6, can you please put in a maintenance request. Thanks.” (ECF No. 35-3, p. 51). Sgt. Joseph

  Malone responded the next day saying, “Yes, Mr. Scharnhorst there is one in on this issue.” Id.

  Defendants submitted no evidence of the temperature of Plaintiff’s cell from August 1, 2022, to

  August 3, 2022.

                                              Claim Two

         Plaintiff asserts that from December 10, 2021, to January 31, 2022, the toilet leaked in his

  cell. (ECF No. 1, p. 7). Plaintiff says that while he was moved to another cell block on February

  1, 2022, he experienced plumbing problems with the toilet in his new cell from July 10, 2022, to

  November 10, 2022. Id. Plaintiff says that the toilet became unusable on July 15, 2022, because

  it was filled with sewage and eventually overflowed the night of July 19, 2022. Id. at pp. 7-8.

  Plaintiff contends that he submitted grievances and requests on the kiosk asking for the plumbing

  problems to be addressed, but Defendant Caudle was allowed to neglect the problem.               Id.



  5
    Plaintiff also identifies Denzer and Lt. A. Arnold as defendants to this claim, but, as previously
  noted, the claims against these defendants were dismissed after preservice screening for failure to
  state a claim as a matter of law. 28 U.S.C. § 1915A(b)(1). (ECF Nos. 8, 11).
                                                   13
Case 5:22-cv-05238-TLB-CDC Document 74                   Filed 07/11/24 Page 14 of 49 PageID #: 854




  According to Plaintiff, although he was moved to “K-block,” the same plumbing problems

  persisted until they were finally resolved on November 11, 2022. Id. at p. 8. 6     5F




                    a. Leaky Toilet

            Plaintiff’s complaints about his leaky toilet are well documented in the summary judgment

  record.

            On December 13, 2021, Plaintiff entered the following into the WCDC kiosk:

                    The toilet in my cell (R21) leaks on the floor and is possibly a
                    contributing factor to the mold growing on the walls and ceiling.
                    The hot water does not work in the day room or any of the other
                    cells in R block causing a constant flow of traffic into my cell by
                    other detainees needing warm water to wash their hands after
                    urinating, defecating, etc.

  (ECF No. 35-3, p.1). Cpl. David Sorrell responded the next day, saying “[a] repair order has been

  put in. Thank you.” Id.

            On December 15, 2021, Plaintiff entered another grievance on the kiosk, saying, in

  pertinent part:

                    I’m filing this grievance [for] the fact that there are sanitary
                    issues . . . The entire floor is constantly saturated from leaks causing
                    mold and other health concerns. The toilet in cell R21 has been
                    leaking onto the floor for months causing black mold to grow on the
                    walls and ceilings and the [blanket] being used to soak up the water
                    is not only disgusting, but a health hazard as well and does not
                    constitute a “remedy” to the problem.

  (ECF No. 35-3, p. 2). The next day, Defendant Mulvaney responded:

                    Sir, Maintenance was in there this morning and fixed the toilet and
                    the hot/warm water issue. The rest of this is regarding cleaning

  6
    Upon preservice review pursuant to 28 U.S.C. § 1915A(a), only the claims against Defendant
  Caudle for purportedly failing to properly (and timely) repair the plumbing issues and the claim
  against Defendant Cantrell for purportedly failing to properly supervise Defendant Caudle
  remained pending, all other claims were dismissed for failure to state a claim as a matter of law.
  See (ECF Nos. 8, 11).
                                                 14
Case 5:22-cv-05238-TLB-CDC Document 74                  Filed 07/11/24 Page 15 of 49 PageID #: 855




                 issues. Cleaning supplies are given at least 3 times a day, and it is
                 the detainee’s responsibility to clean their housing area. Please
                 make sure you read the detainee handbook. Cpl. Mulvaney.

  Id. Plaintiff, unsatisfied with this response, replied the same day:

                 Maintenance was here this morning and didn’t fix anything at all.
                 Every single issue still exists. You need to get your facts straight.
                 Please provide a ladder when you bring cleaning supplies today so
                 that I can reach the mold on the ceiling, there is no way to reach it
                 otherwise. The entire block is being subjected to conditions in
                 violation of health codes and state and federal regulations.

  Id. at p. 3. On December 17, 2021, Defendant Mulvaney continued the conversation, writing:

                 I am having staff come check the issues, the leaky toilet and water
                 in the dayroom sink. They will also check for the “mold” you are
                 talking about. You will not be provided a ladder to use and clean
                 the ceiling, as that could be a safety and security issue…

  Id. Again, Plaintiff countered, saying:

                 There is half a blanket and rags around the base of our toilet that we
                 are [w]ringing out, rinsing and hanging out to dry due to the toilet
                 that leaks all over the floor. This is an issue that is very well known
                 by all the detainees, all the guards and maintenance. You can type
                 whatever lies you want but the guards would not be changing out
                 wet half blankets if it wasn’t true. Maintenance was here yesterday,
                 verified the leak as a faulty coupler and determined that you do not
                 have the parts to fix it and left without repairing the leak. You guys
                 are something else man. FACT: The toilet in R21 leaks all over the
                 floor and the water is being soaked up by a half blanket and rags and
                 everyone is VERY aware of it.

  Id. at p. 4. On December 21, 2021, Defendant Mulvaney wrote:

                 Mr. Scharnhorst, I was advised and actually saw the response from
                 maintenance saying that a fitting was tightened, which was supposed
                 to stop the leak. I have since learned that it evidently did not fix the
                 issue, and I will get with maintenance personnel to see what the issue
                 is. It may be a parts issue, but I will try to find out. Also, please
                 do not call me a liar. I can only respond to what I am told, and or
                 read from personnel. Cpl. Mulvaney.
  Id.

                                                   15
Case 5:22-cv-05238-TLB-CDC Document 74                Filed 07/11/24 Page 16 of 49 PageID #: 856




          Before Defendant Mulvaney replied to Plaintiff’s December 17, 2021, response, Plaintiff

  submitted a separate grievance on December 20, 2021, complaining about, among other things,

  the same leaky toilet. 7 (ECF No. 35-3, p. 5).
                       6F




          On December 27, 2021, Plaintiff submitted a third grievance about the leaking toilet:

                 I’d like it to be noted that maintenance was just here, looked at the
                 leaking toilet, saw and verified the pooling water on the floor in cell
                 21 and left without rectifying the problem. The older grouchy
                 deputy in the green polo shirt who was wearing no face covering at
                 all was obtuse about the matter and seemed perfectly fine pretending
                 to have addressed the problem and leaving full well that the water
                 was going to continue leaking as he instructed the younger tech to
                 pack up and leave without making a repair…

  Id. at p. 8.

          Sgt. Jerry Workman responded that same day, saying that he would “place another

  maintenance on this issue and place a copy of this request in Lt box.” Id.

          On December 28, 2021, Defendant Mulvaney responded to Plaintiff’s December 20, 2021,

  grievance, saying:

                 Mr. Scharnhorst, I have had maintenance come check these issues
                 out (12-27-21), and these issues should be resolved, or at least
                 according to them. The water leak around the base of the toilet (not
                 coming from the toilet either) was not bad at all according to him,
                 and the hot water was an adjustment that had to be made…
  Id. at p. 6.


  7
   This grievance included Plaintiff’s complaints about the failure of WCDC staff to wear masks to
  prevent the spread of COVID-19, and the failure of the WCDC to provide detainees with the
  opportunity to meet privately with counsel. (ECF No. 35-3, p. 5). These complaints are the
  subject of separate lawsuits. See Order, Scharnhorst v. Cantrell, et al., Case No. 5:22-CV-05176-
  TLB-CDC (W.D. Ark. Oct. 30, 2023) (adopting recommendation to dismiss with prejudice
  Plaintiff’s claims that WCDC defendants failed to wear masks to prevent the spread of COVID-
  19 in violation of his constitutional rights); Order, Scharnhorst v. Helder, et al., Case No. 5:22-
  CV-05167-TLB-CDC (W.D. Ark. June 28, 2024) (adopting recommendation to dismiss with
  prejudice Plaintiff’s claims that WCDC defendants violated his constitutional right to meet
  privately with counsel).
                                                   16
Case 5:22-cv-05238-TLB-CDC Document 74                 Filed 07/11/24 Page 17 of 49 PageID #: 857




  Plaintiff—unsatisfied with this response—wrote that same day, in reply:

                 Maintenance was here yesterday and did nothing to rectify the
                 leaking toilet in R21. I have 20 rags that I am using to soak up the
                 pool of water with daily. I have an entire laundry process going on
                 in my cell that all the guards and detainees are aware of. . .. I want
                 to be clear that despite the claims of corrupt lying maintenance
                 personnel NONE of the maintenance issues I’ve reported have been
                 repaired in fact now the right side shower is non-op on top of
                 everything else. I’ve made requests for repairs and the only thing
                 they’ve accomplished is breaking the shower…

  Id. at p. 7.

          Before Defendant Mulvaney responded to this reply, Plaintiff submitted yet another

  grievance on January 2, 2022, complaining about the same conditions, writing, in pertinent part,

                 [T]he toilet in R21 leaks all over the floor and I am soaking up
                 dozens of rags, wringing them out and hanging them to dry on a
                 makeshift clothesline . . . There is mold growing all around the base
                 of the toilet and along the wall and the ceiling. The maintenance
                 personnel and floor guards hage [sic] both made numerous
                 inspections and diagnosed and documented these problems. I feel
                 they are being neglected intentionally.

  Id. at p. 9. Sgt. Aaron Bradshaw responded to this grievance the same day, writing:

                 Maintenance has been made aware of the issues and has taken steps
                 to resolve them. Some problems cannot be fixed instantly. Thank
                 you for bringing them to our attention, now we must wait for
                 maintenance to fix them when they can.
  Id.

          For his part, Defendant Mulvaney responded to Plaintiff’s December 28, 2021, reply on

  January 11, 2022, writing:


                 Mr. Scharnhorst. All of these issues have been repaired according
                 to the maintenance personnel. It seems that somehow some foreign
                 matter, and or, object had gotten into the sink drain and clogged it
                 up to where it would not drain correctly. Also, according to the
                 photos I have seen there was something stuck in the toilet as well
                 causing issues. I believe extra mats were ordered…
                                                  17
Case 5:22-cv-05238-TLB-CDC Document 74                Filed 07/11/24 Page 18 of 49 PageID #: 858




  Id. at p. 7.

          On January 4, 2022, Plaintiff again documented the leaking toilet on the kiosk, writing, in

  part, “[f]or the record none of the plumbing issues I’ve been reporting for weeks have been fixed.”

  Id. at p. 10. 8 Lt. Brian Atchley responded, saying, “this maintenance request is still submitted to
                 7F




  resolve this issue. Thank you for the information.” Id. Plaintiff followed up twice on January 6,

  2022, writing to again complain about the leaky toilet in R21. Id. at pp. 11, 12. Each time,

  WCDC officials responded saying that someone would follow up with his report. Id. On

  January 17, 2021, Plaintiff reported that “[t]he toilet in R21 continues to leak water after weeks of

  [him] reporting it [but] Nothing has been done to address the mold growing on the walls and ceiling

  next to [him] and above [his] head.” Id. at p. 13. On January 22, 2022, Lt. Maria Carrier

  responded saying that she “will send deputies during noon cleaning to look at the issues your [sic]

  reporting and handle them accordingly.” Id.

          The WCDC Help Desk Report shows that Landon Cradduck entered a maintenance ticket

  because the “[t]oilet in R-21 is leaking” on January 22, 2022. (ECF No. 35-7, p. 1). Defendant

  Caudle closed that ticket on February 25, 2022, with the note “[d]ry at this time.” Id.

                      b.   Sewage Backup

          The summary judgment record shows that Plaintiff submitted grievances about sewage

  backing up into his toilet under several categories on the kiosk.

          For example, on July 12, 2022, Plaintiff wrote:

                           The toilet plumbing in my cell and A6-25 are clogged up and
                           when we flush the toilet feces, urine, and toilet paper flow
                           back and forth from one cell to another. Please have


  8
    It appears that Plaintiff may have submitted multiple grievances on January 4, 2022,
  complaining, in part, about the leaky toilet in R21. (ECF No. 35-3, p. 21).
                                                   18
Case 5:22-cv-05238-TLB-CDC Document 74               Filed 07/11/24 Page 19 of 49 PageID #: 859




                         maintenance clear the drain or take whatever steps are
                         necessary in order to remedy this unsanitary problem.
                         Thank you.

  (ECF No. 35-3, p. 42). 98F   That same day, Cpl. Gordon Ochieng responded, saying, “I just put a

  work order for these problem [sic] I hope they fix it soon.” Id. On July 18, 2022, Plaintiff wrote:

                  This problem has now reached critical status, the toilets cannot be
                  flushed without overflowing and the downstairs cells, 13&14 are
                  flooding onto the floor.

  Id.   That same day, Captain Kevin East responded, “A work order has been placed. Also, a

  deputy will come look at it in the morning.” Id. On July 20, 2022, Plaintiff followed up, saying:

                  Will you please have maintenance address the backed up toilets in
                  A6 block. I’ve been reporting this for at least 12 days now and last
                  night the toilets overflowed raw sewage all over the floors and
                  flooded the entire cell block.

  Id. at p. 44. On July 23, 2022, Cpl. Gordon Ochieng responded saying, “I did put a work order

  for it.” Id.

          On July 15, 2022, Travis Bilbrey entered a maintenance ticket, because “[t]oilet in A-24

  backs up to 25 and vice versa when flushed.” (ECF No. 35-7, at p. 3). On that same day, Gordon

  Ochieng entered a second maintenance ticket for the same issue, saying “[t]oilets in cells A6-25

  and A6-24 are clogged up and are pushing water in out of the the [sic] two toilets when flushed.”

  Id. at p. 4.   On July 19, 2022, Jerry Workman entered a ticket describing the same issue: “A6-

  24-25 are not flushing properly, and it is overflowing into cells 13-14.” Id. at p. 5. On July 21,

  2022, Benjamin Velasco entered a maintenance ticket because “A625 and A624 toilets are backing

  up into each other.” Id. at p. 6. Velasco entered a second note that same day, explaining



  9
   Plaintiff submitted several other grievances under other kiosk categories documenting the
  problem. See, e.g., (ECF No. 35-3, p. 41, 43, 45–50).
                                                  19
Case 5:22-cv-05238-TLB-CDC Document 74                      Filed 07/11/24 Page 20 of 49 PageID #: 860




  “attempted to clear with electric snake 309 Lewis stated that it would need to be unclogged using

  an auger.” Id. at pp. 6-7. Defendant Caudle closed those tickets on July 22, 2022, with the notes

  “[r]emoved shirt from drain line,” Id. at pp. 3, 4, “issue resolved, repaired,” Id. at p. 5, and “issued

  resolved, removed shirt from drain line,” Id. at p. 7. Defendant Bilbrey, however, “do[es] not

  recall [Plaintiff’s] cell ever being flood with sewage because of [a toilet issue between two cells]

  or any other plumbing problem.” (ECF No. 35-17, p. 3).

          On August 10, 2022, Plaintiff submitted another grievance about sewage backup in his

  toilet, writing:

                     I want to remind you about the plumbing problem between cells 24
                     and 25. When one toilet flushes it goes into the toilet of the other
                     cell. There is apparently some sort of blockage in the sewer pipe
                     somewhere. Sgt. Byrd tried to clear the line last Saturday but was
                     unable to rectify the issue. Will you please have a professional
                     plumber look into this before the toilet becomes stopped up and
                     completely and unusable with sewage sitting in it for days like what
                     transpired recently after I’d been warning you for weeks in advance.
                     I am again warning against a serious issue that I see on the horizon.
                     This is exactly how it started last time and if it is not addressed I fear
                     it will develop in a similar fashion. Thanks.

  (ECF No. 35-3, p. 52). 10  9F




          On August 13, 2022, Cpl. Michael Smith responded saying “the has been reported to

  maintenance via a work order. Thank you.” Id. But Plaintiff followed up on August 15, 2022,

  explaining, in pertinent part, that “[t]his issue still has not been remedied…” Id. On August 17,

  2022, Cpl. Tom Mulvaney responded, “This was printed and given to maintenance; Caudle 8-17-

  22. Cpl. Mulvaney.” Id. at p. 53.



  10
    The summary judgment record shows that Plaintiff submitted several grievances on this issue,
  dated August 5, 2022, (ECF No. 35-3, p. 56); August 12, 2022, Id. p. 57; August 16, 2022, Id. p.
  59; August 26, 2022, Id. p. 60.
                                                20
Case 5:22-cv-05238-TLB-CDC Document 74                Filed 07/11/24 Page 21 of 49 PageID #: 861




         On August 7, 2022, Brad Morgan entered a maintenance ticket because “A6 25/24 toilet

  backing up and leaking.” (ECF No. 35-7, p. 9). Defendant Caudle closed the ticket on August 18,

  2022, saying “[r]an auger threw [sic] the lines and adjusted water pressure. It was working fine

  and both inmates were happy about the way the toilets were working.” Id. at p. 9. On September

  1, 2022, Tom Mulvaney entered a maintenance ticket saying:

                 Scharnhorst in A1 is still complaining of the plumbing issues
                 between A-24 and A-25. I know this has been his ongoing
                 complaint for a while. He is also saying the light fixture in his cell
                 is missing hardware and loose. We know he has done this type of
                 thing in the past himself. He is also saying the door actuator is
                 leaking air in his cell. I will talk with pod control for verification.

  (ECF No. 35-7, p. 10). Defendant Caudle closed the ticket the same day, with the note, “issued

  resolved; Everything was repaired this morning except the light.” Id.

                                             Claim Three

         Plaintiff says that when he was moved to cell 24 in A-1, he immediately notified WCDC

  staff of the broken light in his cell, but Defendant Caudle ignored the maintenance requests, and

  he was “left in a dark cell for weeks.” (ECF No. 1, p. 10). Plaintiff says that the light was

  repaired on October 3, 2022. Id. Plaintiff contends that Defendant Cantrell does nothing to

  ensure the maintenance of the jail. 11
                                     10F




         On August 24, 2022, Plaintiff submitted a request on the kiosk, explaining, in part:

                 The overhead light in A-1, 24 is missing several screws, the housing
                 is loose and one of the bulbs is missing or broken. I do nit [sic] to
                 be blamed for this and I notified the guards yesterday and today, this
                 is my first access to the kiosk since being moved into this cell.
                 Please have maintenance fix the light and replace one bulb, the room


  11
     To the extent that Plaintiff identifies additional defendants and claims as to claim two, those
  claims and defendants were dismissed after the Court’s preservice review pursuant to 28
  U.S.C. § 1915A(b)(1). See (ECF Nos. 8, 11).
                                                    21
Case 5:22-cv-05238-TLB-CDC Document 74                  Filed 07/11/24 Page 22 of 49 PageID #: 862




                  is gloomy without full functionality of the light.

  (ECF No. 35-3, p. 55).

          On August 27, 2022, Cpl. Jackson Vandenack responded, saying, “a work order has been

  put in for the light and the door.” Id. Plaintiff’s kiosk entries document that he complained about

  this issue again on August 26, 2022, saying that “[t]he light fixture on my ceiling is missing

  hardware and the housing is loose.” (ECF No. 35-3, p. 60). And on September 2, 2022, Plaintiff

  wrote: “My light still has a broken bulb and is missing several screws. Maintenance looked at it

  yesterday but did nothing about it.” Id. at p. 62.

          On September 7, 2022, Plaintiff wrote, explaining:

                  [The bulb] is not fixed. The bulb is glitching, flickering on and off
                  like a strobe light at times, making me sick to my stomach and
                  hurting my eyes. I’m not epilectic [sic] thank God. Please have
                  maintenance address this.

  Id. at p. 62.

          On August 27, Jackson Vandenack submitted a maintenance request because “[t]he

  overhead light in A-1, 24 [Plaintiff’s cell] is missing several screws, the housing is loose and one

  of the bulbs is missing or broken.” (ECF No. 67, p. 107). On September 19, 2022, Brad Morgan

  submitted a maintenance ticket because “A1 24 light not working.” (ECF No. 67, p. 108). On

  September 29, 2022, Tyler Beck submitted a maintenance request, noting “POD A1 cell A1-24

  light is out and needs replace.” (ECF No. 67, p. 110). Defendant Caudle closed that ticket on

  October 3, 2022, noting “issued resolved; repaired.” (ECF No. 67, p. 110). On September 27,

  2022, Benjamin Velasco entered a maintenance ticket, noting “light broken in A1-24.” (ECF No.

  35-7, p. 13). Defendant Caudle also closed that ticket on October 3, 2022, noting “issued

  resolved; repaired.” (ECF No. 35-7, p. 13). On September 29, 2022, Tyler Beck entered a

                                                   22
Case 5:22-cv-05238-TLB-CDC Document 74                 Filed 07/11/24 Page 23 of 49 PageID #: 863




  maintenance request because “POD A1 cell A1-24 light is out and needs replace.” (ECF No. 35-

  7, p. 14). Defendant Caudle closed that ticket as well on October 3, 2022, noting “issued resolved,

  repaired.” (ECF No. 35-7, p. 15). Defendant Bilbrey recalls that “[Plaintiff] was in a cell that

  had a very bright light for a period of time. When he was moved, the cell he was in had a light,

  but it was much less bright. [He] does not recall him ever being in a cell with no working light.”

  (ECF No. 35-17, p. 3).

                                               Claim Four

         Finally, Plaintiff contends that he has been filing grievances and complaints about his

  conditions of confinement at the WCDC for over a year. (ECF No. 1, p. 11). Plaintiff describes

  being exposed to black mold on the walls, ceilings, and in the shower. Id. Further, Plaintiff

  describes “hair and leeches in the drains,” “feces, urine, rotting food, hair, food, fingernails, etc.”

  in the expansion joints on the concrete floor, and being exposed to maggots and flying insects.

  He asserts that “Defendants [Cantrell, Caudle, Fry, Beck, Nunziato, Drumright, Bilbrey, and

  Martinez] refuse to clean up after meals” and regularly throw trash onto the floor. 12 Id. And
                                                                                           11F




  that “there is feces everywhere due to the mismanagement of the mentally ill and the callous

  indifference by the above named Defendants [Cantrell, Caudle, Fry, Beck, Nunziato, Drumright,

  Bilbrey, and Martinez] to clean the feces spread onto the walls, floors, kiosk, phones, tablets,

  dining tables, etc.” Id. Plaintiff also claims that Defendants Fry, Beck, Nunziato, Drumright,

  Bilbrey, and Martinez used his complaints about the “filth” at the WCDC to “harass and antagonize

  [him] by forcing themselves into [his] cell with brooms and mops contaminated with urine and



  12
     Although Plaintiff identified additional defendants to claim four, those defendants were
  dismissed for failure to state a claim upon which relief may be granted pursuant 28
  U.S.C. § 1915A(b)(1). See (ECF Nos. 8, 11).
                                                23
Case 5:22-cv-05238-TLB-CDC Document 74                   Filed 07/11/24 Page 24 of 49 PageID #: 864




  feces and spreading it all over [his] floor.” 13 Id.
                                              12F




         Defendant Fry states that he completed the required WCSO detention officer training

  program. (ECF No. 35-20, p. 1). That program included training on cleaning practices at the

  WCDC. Id. According to Defendant Fry, “the standard protocol was to clean each pod after

  each meal. A clean mop bucket (with clean water and cleaning solution) was used for each

  cleaning. Trustees would generally collect trays and clean the bathrooms and common areas.

  Detention officers would go to each cell, sweep the cell out, and then mop the cell.”            Id.

  Defendant Fry says that “[d]etention officers would spray sanitizing spray on the surfaces in the

  cells, if requested by the detainee, and the detainee could then clean the cell surfaces.” Id.

         Defendant Fry says that “[i]f a cell obviously contained human waste, the detainee would

  be removed, and the cell was cleaned by detention officers and trustees and the cleaning supplies

  (mops or brooms or towels) would not be used in any other cell.” Id. at pp. 1-2. Defendant Fry

  “absolutely den[ies] that [he] ever intentionally spread feces or urine all over any inmate’s cell—

  including Plaintiff’s—with a contaminated mop or broom, or any other method.” Id. at p. 2.

  Defendant Fry says that “[i]f [he] used a broom or mop to clean a cell that had urine or feces on

  the floor, [he] did not use that broom or mop to clean another cell without the broom or mop being

  thoroughly disinfected first.” Id.

         Defendant Beck says that he was also trained in the WCDC cleaning practices. (ECF No.

  35-18, p. 1). “In the segregation areas, officers had to sweep and mop each individual cell because

  the detainees in those areas were often not allowed to use the mop or broom themselves.



  13
    Plaintiff also filed a lawsuit about the conditions of confinement of the WCDC “ISO” cells.
  See Amended Complaint, Scharnhorst v. Cantrell, et al., 5:22-CV-05218-TLB-CDC (W.D. Ark.
  Dec. 27, 2022). That lawsuit remains pending.
                                                  24
Case 5:22-cv-05238-TLB-CDC Document 74                Filed 07/11/24 Page 25 of 49 PageID #: 865




  Otherwise, the detainees were responsible for keeping their own cell clean.” Id. According to

  Defendant Beck, “[i]f a cell obviously contained human waste, [they] were required to move the

  detainee out of the cell and then officers and trustees would clean and disinfect the cell. Any

  mops or brooms or towels used in a cleaning like this could not be used anywhere else until they

  were cleaned.” Id. at p. 2. Defendant Beck says that he “did not ever intentionally spread feces

  or urine all over [Plaintiff’s] cell with a contaminated mop or broom; [and that he] did not ever use

  a broom or mop in [Plaintiff’s] cell immediately after [he] used the broom or mop to clean up

  human waste.” Id. Defendant Beck says doing so “would have been a policy violation and [he]

  would have been in trouble for doing that.” Id.

         Defendants Nunziato, Martinez, Drumright, and Bilbrey were similarly trained, recall the

  same policy and same consequences for violating the WCDC policy for cleaning cells

  contaminated with human waste. See (ECF No. 35-15); (ECF No. 35-16); (ECF No. 35-17); (ECF

  No. 35-19). All four defendants—like Defendants Beck and Fry—maintain that they never

  intentionally spread feces, urine, vomit, or any other human waste from one cell to another with a

  contaminated mop. 14 See (ECF No. 35-15, p. 2); (ECF No. 35-16, p. 2); (ECF No. 35-17, pp. 2-
                     13F




  3); (ECF No. 35-19, p. 2).




  14
    Defendants submitted security footage of Plaintiff holding up a piece of paper containing several
  smashed bugs while he was housed in “ISO-4.” See (ECF No. 35-10). Plaintiff also discusses
  the conditions of ISO-4, (ECF No. 1, p. 11), but, as noted above, the conditions of ISO-4 are the
  subject of a separate pending lawsuit. See Scharnhorst v. Cantrell, et al., 5:22-CV-05218-TLB-
  CDC (W.D. Ark. Dec. 27, 2022). Thus, this Court does not consider whether the conditions of
  Plaintiff’s confinement in ISO-4 violated his constitutional rights here; instead, the Court views
  his grievances about those conditions in the context of his claim that he had been grieving about
  his conditions at the WCDC for over a year. A fact which is not disputed. See (ECF No. 35-3).
                                                 25
Case 5:22-cv-05238-TLB-CDC Document 74                 Filed 07/11/24 Page 26 of 49 PageID #: 866




                                           IV.     ANALYSIS

         Plaintiff asserts that there are genuine issues of material fact that preclude summary

  judgment in this case. (ECF No. 66). To be sure, the parties do not agree on much. But “the

  mere existence of a factual dispute is insufficient alone to bar summary judgment; rather, the

  dispute must be outcome determinative under prevailing law.” Ryno v. City of Waynesville, 58

  F.4th 995, 1004 (8th Cir. 2023). For the reasons described below, to the extent that there are

  factual disputes in the record, those disputes do not preclude summary judgment on all but one

  claim: Plaintiff’s claim against Defendants Nunziato, Martinez, Bilbrey, Fry, Drumright, and

  Beck in their individual capacities for “forcing themselves into [Plaintiff’s cell] with brooms and

  mops contaminated with urine and feces and spreading it all over [his] floor.” (ECF No. 1, p.

  12).

         To establish a claim under 42 U.S.C. § 1983, “a plaintiff must allege a violation of a

  constitutional right committed by a person acting under color of state law.” Andrews v. City of

  West Branch, Iowa, 454 F.3d 914, 918 (8th Cir. 2006). “Public servants may be sued under

  section 1983 in either their official capacity, their individual capacity, or both.” Johnson v.

  Outboard Marine Corp., 172 F.3d 531, 535 (8th Cir. 1999) (citing Murphy v. Arkansas, 127 F.3d

  750, 754 (8th Cir. 1997)). Here, each defendant is named in his individual and official capacity

  as an agent of the entity for which he works: Washington County, Arkansas. This Court starts

  with Plaintiff’s individual capacity claims.

         A.      Individual Capacity Claims

         Defendants contend they are entitled to qualified immunity on Plaintiff’s individual

  capacity claims. (ECF No. 34). “Qualified immunity shields officials from civil liability in


                                                  26
Case 5:22-cv-05238-TLB-CDC Document 74                 Filed 07/11/24 Page 27 of 49 PageID #: 867




  § 1983 actions when their conduct ‘does not violate clearly established statutory or constitutional

  rights of which a reasonable person would have known.” Morgan v. Robinson, 920 F.3d 521, 523

  (8th Cir. 2019). “Qualified immunity analysis requires a two-step inquiry: (1) whether the facts

  shown by the plaintiff make out a violation of a constitutional or statutory right, and (2) whether

  that right was clearly established at the time of the defendant’s alleged misconduct.” Id. (quoting

  Nord v. Walsh Cty., 757 F.3d 734, 738 (8th Cir. 2014)). “Unless both of these questions are

  answered affirmatively, [a defendant] is entitled to qualified immunity.” Id. “And courts are

  permitted to exercise their sound discretion in deciding which of the two prongs of the qualified

  immunity analysis should be addressed first.” Id.

         1. Defendant Cantrell

         This Court begins with Plaintiff’s claims against Defendant Cantrell.

         There is no dispute that Defendant Cantrell is not personally responsible for the

  maintenance of the WCDC HVAC (claim one) and plumbing systems (claim two) or lighting

  fixtures (claim three). Further, Plaintiff does not identify Defendant Cantrell as one of the six

  defendant who “used [the] issue of filth to harass and antagonize” him by “forcing themselves into

  [his] cell with brooms and mops contaminated with urine and feces and spreading it all over [his]

  floor” (claim four). 15 (ECF No. 1). Thus, as this Court understands it, Plaintiff seeks to attach
                      14F




  15
     While Plaintiff identifies Cantrell as a defendant to claim four and asserts that those defendants
  “refuse to clean up after meals, they throw trash onto the floor,” and fail to properly clean “the
  feces spread onto the walls, floors, doors, kiosk, phones, tablets, dining tables, etc.,” (ECF No. 1,
  p. 11), there are no facts (disputed or otherwise) establishing that Defendant Cantrell was
  personally involved or responsible for cleaning the WCDC in any respect. Accordingly, to the
  extent that Plaintiff seeks liability against Defendant Cantrell for his alleged personal involvement
  in this conduct (as opposed to a failure to supervise or train theory of liability), Defendant Cantrell
  is entitled to summary judgment.
                                                     27
Case 5:22-cv-05238-TLB-CDC Document 74                Filed 07/11/24 Page 28 of 49 PageID #: 868




  liability to Defendant Cantrell for his purported supervisory role as chief deputy. 16
                                                                                      15F




         In section 1983 actions, however, “supervisory liability is limited.” Boyd v. Knox, 47 F.3d

  966, 968 (8th Cir. 1995). “A supervisor is not vicariously liable under 42 U.S.C. § 1983 for an

  employee’s unconstitutional activity.” White v. Holmes, 21 F.3d 277, 280 (8th Cir. 1994).

  Rather, “[w]hen a supervising official who had no direct participation in an alleged constitutional

  violation is sued for failure to train or supervise the offending actor, the supervisor is entitled to

  qualified immunity unless plaintiff proves that the supervisor (1) received notice of a pattern of

  unconstitutional acts committed by a subordinate, and (2) was deliberately indifferent to or

  authorized those acts.” Davis v. Buchanan Cnty., Missouri, 11 F.4th 604, 624 (8th Cir. 2021).

         Plaintiff’s claims against Defendant Cantrell for “failure to supervise or train” Defendants

  Caudle, Nunziato, Fry, Beck, Drumright, Bilbrey, and Martinez fail for one basic reason: it is

  undisputed that Defendant Cantrell was not responsible for supervising or training these

  defendants.

         As chief deputy, “training in the various operations of the Sheriff’s office (whether

  enforcement, administrative, or detention) was not part of [Defendant Cantrell’s] regular duties.”

  Id. at p. 2. Rather, the WCDC “is managed by Randall Denzer. Major Denzer supervises the

  chain of command within the Detention Center that operates by four shifts, each with Lieutenants,

  who are supervised by the Captain over the Detention Center.” Id. at pp. 1-2. “[V]arious day to

  day aspects of the operations are generally handled within each shift. Only those issues that

  cannot be resolved by a shift are raised to the attention of the captain; only those day to day issues



  16
    Defendant Cantrell was Chief Deputy of the WCSO during the events giving rise to Plaintiff’s
  Claims. (ECF No. 35-13, p. 1). He is currently the Sheriff of Washington County. (ECF No.
  35-13, p. 1).
                                               28
Case 5:22-cv-05238-TLB-CDC Document 74              Filed 07/11/24 Page 29 of 49 PageID #: 869




  that cannot be resolved by the Captain are raised to the Major.” Id.

         Defendant Nunziato describes himself as “a Corporal at the [WCSO], where [he] serve[s]

  in the [WCDC].” (ECF No. 35-15, p. 1). Defendant Martinez is a “deputy first class [DFC] at

  the [WCSO], where [he] serve[s] in the [WCDC].” (ECF No. 35-16, p. 1). Defendant Drumright

  is also a “deputy first class [DFC] at the Washington County Sheriff’s Office.” (ECF No. 35-19,

  p. 1). At the time giving rise to Plaintiff’s claims, Defendant Bilbrey “was employed as a

  detention officer in the Washington County Detention Center.”          (ECF No. 35-17, p. 1).

  Similarly, Defendants Beck and Fry were employed as detention officers in the Washington

  County Detention Center when Plaintiff was incarcerated. (ECF No. 35-18, p. 1); (ECF No. 35-

  20, p. 1). Accordingly, it is undisputed that Defendant Cantrell did not supervise Defendants

  Nunziato, Fry, Beck, Drumright, Bilbrey, and Martinez. 17
                                                          16F




         Further, Defendant Cantrell “did not supervise the maintenance employees of Washington

  County who operated in the Washington County Sheriff’s offices or the detention center.” Id.

  He does not and did not train or supervise Defendant Caudle. Id. Indeed, Defendant Cantrell is

  “not qualified to provide training on building maintenance at the Washington County Detention

  Center.” Id. According to Defendant Cantrell, “[Defendant] Caudle’s job should have been

  evaluated on a regular basis by his supervisor, Kory Weathers. [He] would not have participated

  in that process.” Id. Indeed, Kory Weathers is identified as Defendant Caudle’s supervisor on

  his 2021 performance evaluation. (ECF No. 35-8, p. 1). And Defendant Caudle similarly

  identifies Kory Weather as his supervisor. (ECF No. 35-14, p. 1).



  17
     Plaintiff’s claims against Randall Denzer were dismissed after preservice screening for failure
  to state a claim upon which relief may be granted pursuant to 28 U.S.C. § 1915A(b)(1). (ECF Nos.
  8 & 11).
                                                  29
Case 5:22-cv-05238-TLB-CDC Document 74                 Filed 07/11/24 Page 30 of 49 PageID #: 870




         For his part, Plaintiff does not dispute that Defendant Cantrell neither directly supervised

  nor was responsible for training Defendants Caudle, Nunziato, Fry, Beck, Drumright, Bilbrey, or

  Martinez. (ECF No. 67).       Accordingly, this Court considers these facts undisputed for the

  purposes of summary judgment. Fed. R. Civ. P. 56(e)(2). Rather, Plaintiff asserts that he wrote

  letters to Defendant Cantrell putting him “on notice” of his conditions of confinement and thus

  Defendant’s Cantrell’s failure to take any corrective action in response to those letters constitutes

  “deliberate indifference.” (ECF No. 67). Regardless of whether these letters put Defendant

  Cantrell “on notice” of Plaintiff’s claims, it is undisputed that Defendants Caudle, Nunziato, Fry,

  Beck, Drumright, Bilbrey, and Martinez were not his subordinates.            Accordingly, summary

  judgment should be granted in favor of Defendants for Plaintiff’s claim against Defendant Cantrell

  in his individual capacity for failure to supervise or train the other defendants.

         2. Defendant Caudle

         Plaintiff’s claims against Defendant Caudle for failing to properly maintain the WCDC

  HVAC and plumbing systems (claims one and two) and failing to timely repair light fixtures (claim

  three) concern Plaintiff’s conditions of confinement. 18
                                                         17F




         Under the Fourteenth Amendment, “a pretrial detainee’s constitutional rights are violated

  if the detainee’s conditions of confinement amount to punishment.” Morris v. Zefferi, 601 F.3d




  18
     To the extent that Plaintiff asserts that Defendant Caudle, who is also identified as a defendant
  to claim four, failed to clean up after meals, threw trash on the floor, and failed to properly clean
  feces from the facility, (ECF No. 1, p. 11), there are no facts in the record (disputed or otherwise)
  to suggest that Defendant Caudle was personally involved in any of that conduct. Indeed,
  Defendant Caudle asserts that “[a]s a maintenance technician, [he is] not in charge of or involved
  in cleaning issues such as mold. Those issues are handled by detention officers, Act 309 inmates,
  and detainees.” (ECF No. 35-14, p. 6). Accordingly, Defendant Caudle is entitled to summary
  judgment as to claim four in his individual capacity.
                                                    30
Case 5:22-cv-05238-TLB-CDC Document 74                  Filed 07/11/24 Page 31 of 49 PageID #: 871




  805, 809 (8th Cir. 2010) (citing Bell v. Wolfish, 441 U.S. 520, 535 (1979)). There are two ways

  to determine whether conditions of confinement rise to the level of punishment. First, “a plaintiff

  could show that the conditions were intentionally punitive.” Stearns v. Inmate Servs. Corp., 957

  F.3d 902, 907 (8th Cir. 2020) (quoting Bell, 441 U.S. at 538). Alternatively, “if there is no

  expressly demonstrated intent to punish, the plaintiff could also show that the conditions were not

  reasonably related to a legitimate government purpose or were excessive in relation to that

  purpose.” Id. (quoting Bell, 441 U.S. at 538-39). In considering conditions of confinement

  claims, courts view the “totality of the circumstances of [plaintiff’s] confinement and not any

  particular condition in isolation.” Stearns, 957 F.3d at 909.

                                     “Freezing” Cell Conditions

         As a threshold matter, to establish individual liability under Section 1983, a “plaintiff must

  plead that each Government-official defendant, through the official’s own individual actions, has

  violated the Constitution.” Ashcroft v. Iqbal, 556 U.S. 662, 676 (2009).

         Plaintiff says that cell conditions were “freezing” from January 20, 2022, to January 23,

  2022. (ECF No. 1). Plaintiff does not dispute that “Arkansas Jail Standards” require the WCDC

  to maintain temperatures between 65 degrees and 85 degrees. (ECF No. 35, p. 11). Defendants

  have presented evidence showing that the temperature in Plaintiff’s cell block during this period

  in January fell below this standard for one hour on Friday, January 21, 2022, and for twenty-three

  hours from Saturday, January 22, 2022, to Sunday, January 23, 2022. See (ECF No. 35-6).

  Plaintiff counters that the temperature logs are not accurate because the thermostats are located

  towards the middle of the cell blocks, closer to the interior, whereas the cells themselves face the

  exterior. (ECF No. 67, p. 5).


                                                   31
Case 5:22-cv-05238-TLB-CDC Document 74                 Filed 07/11/24 Page 32 of 49 PageID #: 872




           It is undisputed that Defendant Caudle’s regular work schedule is from 5:00 am to 1:00

  pm, Monday through Friday. (ECF No. 35-14, p. 2). It is further undisputed that Caudle reports to

  work outside of his normal working hours when the officer in charge of the detention center

  contacts him with an emergency. Id. The temperatures in Plaintiff’s cell block fell below

  Arkansas Jail Standards outside of Defendant Caudle’s normal working hours. Id. at pp. 4-5. It

  is undisputed, however, that no one contacted Caudle. Id. When Defendant Caudle returned to

  work on Monday, January 24, 2022, the temperature was above 70 degrees Fahrenheit throughout

  the day. Id. To the extent that Plaintiff maintains that the actual temperature in his cell was

  lower than the reported temperatures during that period in January 2022, the undisputed fact

  remains that Defendant Caudle was neither “on duty,” nor made aware that the temperature in

  Plaintiff’s cell block fell below Arkansas Jail Standards for 23 hours over the weekend.

           Further, there are no particularized facts—disputed or otherwise—suggesting that

  Defendant Caudle did (or failed to do) something prior to leaving work on Friday, January 21,

  2022, that caused the temperature in Plaintiff’s cell block to fall below 65 degrees Fahrenheit for

  23 hours. Defendant Caudle’s “general responsibility” for overseeing the maintenance of the

  WCDC is, by itself, insufficient to establish the personal involvement necessary for individual

  § 1983 liability to attach. See Keeper v. King, 130 F.3d 1309, 1314 (8th Cir. 1997). Thus,

  assuming, arguendo, that Plaintiff has established that the temperatures he experienced in his cell

  for approximately 23 hours constitutes a constitutional violation, the summary judgment record

  shows that Defendant Caudle was not personally responsible for the temperature of his cell during

  that timeframe. Defendant Caudle is therefore entitled to qualified immunity with respect to this

  claim.


                                                  32
Case 5:22-cv-05238-TLB-CDC Document 74                  Filed 07/11/24 Page 33 of 49 PageID #: 873




                     “Sweltering” Conditions, Leaky Toilets, and “Black” Mold

         This leaves Plaintiff’s claims alleging “sweltering” conditions from August 1, 2022, to

  August 2, 2022, exposure to “black mold,” a leaky toilet from December 10, 2021, to January 31,

  2022, a toilet overflowing with sewage, from July 19, 2022, to July 21, 2022, and a broken light

  fixture from August 22, 2022 to October 3, 2022.

         “In analyzing whether a condition of confinement is punitive, courts decide whether the

  disability is imposed for the purpose of punishment or whether it is but an incident of some other

  legitimate governmental purpose.” Karsjens v. Lourey, 988 F.3d 1047, 1052 (8th Cir. 2021)

  (quoting Bell, 441 U.S. at 535-37) (cleaned up). “Unless the detainee can show an expressed

  intent to punish, that determination generally will turn on whether an alternative purpose to which

  the restriction may rationally be connected is assignable for it, and whether it appears excessive in

  relation to such alternative purpose.” Id. (cleaned up). Here, however, even if Plaintiff’s exposure

  to black mold, sweltering heat for two days, a leaky toilet for over a month, a toilet backed up with

  sewage for three days, and a broken light fixture for over a month violated his Due Process rights,

  Defendant Caudle would nevertheless be entitled to summary judgment because the right to be

  free from such conditions was not “clearly established” at the time.

         “A clearly established right is one that is sufficiently clear that every reasonable official

  would have understood that what he is doing violates that right.” Thurmond v. Andrews, 972 F.3d

  1007, 1011 (8th Cir. 2020) (quoting Mullenix v. Luna, 577 U.S. 7, 11 (2015)). Federal courts “do

  not define clearly established law at a high level of generality.” Id. (quoting Dillard v. O’Kelley,

  961 F.3d 1048, 1052 (8th Cir. 2020) (en banc)). “Rather [courts] look for a controlling case or a

  robust consensus of persuasive authority. There need not be a prior case directly on point, but


                                                   33
Case 5:22-cv-05238-TLB-CDC Document 74                  Filed 07/11/24 Page 34 of 49 PageID #: 874




  ‘existing precedent must have placed the statutory or constitutional question beyond debate.’” Id.

  (quoting Dillard, 961 F.3d at 1052)).

         Pretrial detainees “are entitled to reasonably adequate sanitation, personal hygiene, and

  laundry privileges, particularly over a lengthy course of time.” Beaulieu v. Ludeman, 690 F.3d

  1017, 1045 (8th Cir. 2012) (quoting Howard v. Adkison, 887 F.2d 134, 137 (8th Cir. 1989)).

  “Conditions, such as a filthy cell, may be tolerable for a few days and intolerably cruel for weeks

  or months.” Beaulieu, 690 F.3d at 1045 (quoting Whitnack v. Douglas Cnty., 16 F.3d 945, 958

  (8th Cir. 1994)).

         Such broad statements of the law, however, do not address the circumstances presented

  here. As far as this Court is aware, there is no case law establishing that exposure to a leaky toilet

  for over a month constitutes a constitutional violation, particularly where, as here, there are no

  facts suggesting that this particular toilet was leaking sewage, there are no facts suggesting that

  the Plaintiff was injured or was not able to use this or any toilet because of the leak, and it is

  undisputed that the Defendant made efforts (albeit unsuccessfully) to remedy the problem. See

  Frye v. Pettis Cnty. Sheriff Dept., 41 F. App’x 906, 907 (8th Cir. 2002) (no Eighth Amendment

  violation where pretrial inmate was exposed to a leaky toilet for 10 weeks, inmate was provided

  with blankets and towels to absorb the water, but nevertheless slipped and fell, hitting his head and

  back on the toilet and the floor). Accordingly, Plaintiff’s right to be free from a leaky toilet for

  over thirty days was not clearly established at the time and therefore Defendant Caudle is entitled

  to qualified immunity on this claim.

         Further, Defendant Caudle is entitled to qualified immunity for Plaintiff’s claim that his

  cell was “sweltering” on August 1, 2022, and August 2, 2022. (ECF No. 1, p. 6). Plaintiff


                                                   34
Case 5:22-cv-05238-TLB-CDC Document 74                 Filed 07/11/24 Page 35 of 49 PageID #: 875




  contends that the HVAC in his cell block quit working during this timeframe because the HVAC

  system is poorly maintained by Defendant Caudle. Id. For his part, Defendant Caudle offers no

  evidence of the temperatures in Plaintiff’s cell for those two days in August 2022. See (ECF No.

  35-1 – 35-22). But the “length of time a prisoner is subjected to harsh conditions is a critical

  factor” in determining whether a pretrial detainee’s conditions of confinement are

  unconstitutionally punitive. Smith v. Copeland, 87 F.3d 265, 269 (8th Cir. 1996) (“Conditions

  such as a filthy cell may be tolerable for a few days are intolerably cruel for weeks or months.”).

  Here, Plaintiff was exposed to sweltering conditions for merely two days and there is no evidence

  that he lacked access to circulating air during those two days or he suffered any injury or adverse

  consequence from these conditions. Because neither party has submitted any case law (and this

  Court finds none) establishing that such conditions—exposure to “sweltering” temperatures for

  two days without suffering any consequence from that exposure—constitutes a constitutional

  violation, Defendant Caudle is entitled to qualified immunity on this claim.

         The question of Plaintiff’s exposure to a backed-up toilet for three days is even more plain.

  In Smith v. Copeland, 87 F.3d 265 (8th Cir. 1996), the plaintiff, a pretrial inmate, alleged that he

  was subjected to an overflowed toilet in his isolation cell and “was made to endure the stench of

  his own feces and urine” for four days, but he did not allege that he was exposed to disease or

  suffered any other consequence from the exposure. Id. at 268. Here, it is disputed whether the

  sewage from Plaintiff’s toilet overflowed into his cell or remained contained in the toilet bowl.

  Compare (ECF No. 35-17, p. 3) with (ECF no. 35-3, p. 44). But there are no facts—disputed or

  otherwise—to suggest that Plaintiff suffered injury or any other consequence from this exposure.

  (ECF No. 67). Thus, even if sewage backed-up into Plaintiff’s cell and remained in Plaintiff’s


                                                  35
Case 5:22-cv-05238-TLB-CDC Document 74                   Filed 07/11/24 Page 36 of 49 PageID #: 876




  cell for three days, Defendant Caudle is nevertheless entitled to qualified immunity because such

  a condition is clearly not a constitutional violation. Id. (concluding that plaintiff’s allegation of

  being exposed to “raw sewage” for four days did not rise to the level of constitutional

  significance”).

         Turning to the issue of “black mold,” (ECF No. 1, p. 11), the parties do not dispute that

  mold has been found to grow at the WCDC. (ECF No. 35-13, p. 3); (ECF No. 35-14, p. 6). But

  the parties dispute that the mold is caused by Defendant Caudle’s failure to maintain the WCDC

  HVAC system. Regardless, however, the Eighth Circuit recently concluded that in the context of

  prison conditions and exposure to mold and other allergens, “a reasonable officer could glean little

  to no guidance from Eighth Circuit precedent about how to address the presence of a common

  mold in the jail, especially at the levels alleged.” Thurmond, 972 F.3d at 1013.

         Here, there are no facts asserting that the mold to which Plaintiff claims he was exposed

  was toxic or that he suffered any injury from his exposure. Given these circumstances, therefore,

  as the Eighth Circuit noted in Thurmond, even if pretrial detainees have a constitutional right to be

  free from mold, that right was not “clearly established” at the time giving rise to Plaintiff’s claims.

  Id. Defendant Caudle is therefore entitled to qualified immunity.

                                         Broken Light Fixture

         This leaves the broken light fixture. Much about this light is disputed. In what appears

  to be Plaintiff’s initial grievance on the matter, Plaintiff describes his cell on August 24, 2022, as

  “gloomy without a full functionality of the light.” (ECF No. 35-3, p. 55). Two weeks later, on

  September 7, 2022, Plaintiff submitted a grievance saying that his light is not fixed and that “the

  bulb is glitching, flickering on and off like a strobe light at times making [him] sick to [his]


                                                    36
Case 5:22-cv-05238-TLB-CDC Document 74                Filed 07/11/24 Page 37 of 49 PageID #: 877




  stomach and hurting [his] eyes.” (ECF No. 35-3, p. 62). In response to Defendants’ Motion for

  Summary Judgment, Plaintiff asserts that “[his] light flickered from August 23rd until September

  18th and then finally went out completely.” (ECF No. 67, p. 12). 19  18F




         Defendant Caudle says that on Thursday, September 29, 2022, a maintenance ticket was

  submitted describing the light in Plaintiff’s cell as “out and needs replace.” (ECF No. 35-14, p.

  10). Defendant Caudle says that he did not prioritize earlier maintenance requests about the light

  fixture in Plaintiff’s cell because he did not understand those requests to say that the light was

  completely out. 20 (ECF No. 35-14, pp. 8-10). According to Defendant Caudle, reports of light
                  19F




  fixture being completely out is a priority because detention officers cannot house an inmate in a

  cell without a functioning light. Id. In this case, when Defendant Caudle reported to Plaintiff’s

  cell on Monday, October 3, 2022, he says he “found that the screws had been removed from the

  cover on the housing and the bulbs had been jarred, knocking them loose from the ‘tombstones.’”

  Id. Defendant Caudle says that “it was not necessary to replace the fixture or all of the light bulbs.




  19
     In opposition to Defendants’ Motion for Summary Judgment, Plaintiff submitted an affidavit,
  which incorporates by reference his 30-page Statement of Disputed Material Facts. (ECF No. 67,
  p. 30). Thus, this Court considers Plaintiff’s Statement of Disputed Material Facts as though it
  had been signed under penalty of perjury, as well.
  20
     Defendant Caudle concedes that he received a maintenance request on September 19, 2022,
  reporting that the light in A1-24 (Plaintiff’s cell) was “not working,” and a maintenance request
  on September 27, 2022, saying that the light was “broken,” but he explains that he did not identify
  these requests as a priority because “officers did not indicate that it was urgent because the cell
  was dark or that the cell could not be used.” (ECF No. 35-14, p. 9). Plaintiff repeatedly refers
  to Defendant Caudle (and others) as liars. See (ECF No. 67). Such conclusory accusations are
  not evidence. While Plaintiff plainly does not consider Defendant Caudle’s statements credible,
  this Court does not make credibility determinations at summary judgment. See Liberty Lobby,
  Inc., 477 U.S. at 255 (“Credibility determinations, the weighing of the evidence, and the drawing
  of legitimate inferences from the facts are jury functions, not those of a judge, whether [she] is
  ruling on a motion for summary judgment or for a directed verdict. The evidence of the non-
  movant is to be believed, and all justifiable inferences are to be drawn in his favor.”).
                                                    37
Case 5:22-cv-05238-TLB-CDC Document 74                   Filed 07/11/24 Page 38 of 49 PageID #: 878




  All that was necessary was to put the bulbs back into the ‘tombstones’ by ¼ turn of the bulbs.”

  Id. According to Defendant Caudle, “[t]he darkness in the cell was caused by the bulbs were not

  in the tombstones properly. This issue would only occur when the screws were removed from the

  housing, causing the cover to be able to be pried open and allowing someone to knock the bulbs

  loose.” Id.

         Defendants Nunziato, Martinez, and Bilbrey do not recall Plaintiff being housed in a “dark”

  cell. (ECF No. 35-15, p. 2); (ECF No. 35-16, p. 2); (ECF No. 35-17, p. 3). Defendant Drumright

  says that he recalls Plaintiff’s light going “out,” and he reported it to [his] corporal. (ECF No. 35-

  19, p. 3). Plaintiff disputes any implication that he manipulated the light fixture, claiming that

  “[t]he screws on the light fixture were so tight in fact that Lewis Mayfield had to cut them off with

  a power cutter in order to replace the bulbs.” (ECF No. 67, p. 22). Plaintiff, moreover, maintains

  that Defendant Caudle was aware that his light was not working but intentionally ignored the

  repair. Id.

         Notwithstanding these disputes, there are also several undisputed facts about Plaintiff’s

  light fixture: It is undisputed that Plaintiff was exposed to these conditions for approximately six

  weeks (from August 23, 2022, to October 3, 2022), and that during this time frame Plaintiff was

  “let [] out of [his] cell for [his] daily hour out.” (ECF No. 1, p. 10). Further, it is undisputed that

  while the “flickering” light made him sick to his stomach and hurt his eyes, Plaintiff did not have

  a preexisting condition such as epilepsy that would make him particularly susceptible to injury

  from such conditions. (ECF No. 35-3, p. 62). Finally, Defendants submitted two security videos

  from September 12, 2022, one from 7:15 am to 7:45 am and a second from 7:15 pm to 7:55 pm.

  (ECF No. 35-10). To the extent that Plaintiff’s light fixture was malfunctioning (and Plaintiff


                                                    38
Case 5:22-cv-05238-TLB-CDC Document 74                  Filed 07/11/24 Page 39 of 49 PageID #: 879




  maintains his light was “flickering” during this time), the cell block common areas are clearly

  illuminated. Id.

         While these factual disputes may preclude the Court from determining on summary

  judgment whether Defendant Caudle violated Plaintiff’s constitutional rights, they do not preclude

  this Court from concluding that he is entitled to qualified immunity because, as far as the Court

  can tell, there is no controlling case law—persuasive or otherwise—establishing that Plaintiff has

  a right to a well-functioning light fixture, where, as here, it is undisputed that Plaintiff was not

  subjected to continuous darkness and that he was not particularly susceptible to injury from a

  “strobing” or “flickering” light fixture.

         To be sure, federal courts in this Circuit have discussed whether the continuous

  illumination of cells constitutes a constitutional violation, again focusing on the length of time the

  detainee is subject to constant illumination. In Ferguson v. Cape Girardeau Cnty., 88 F.3d 647

  (8th Cir. 1996), for example, the plaintiff, a detainee, was confined to a “5 ½ by 5 ½ foot cell

  without a toilet or a sink and was forced to sleep on a mat on the floor under bright lights, which

  were on twenty-four hours a day” for approximately fourteen days before he was moved to a

  “regular cell.” Id. at 650. Noting that plaintiff “was observed sleeping ninety-three hours of the

  fourteen days spent in the vestibule,” the Eighth Circuit concluded that the “totality of the

  circumstances—which include the relative short duration of the confinement, the necessity to keep

  the detainee under observation for both his medical condition as well as general safety concerns,

  and the amount of time that he spent out of the cell—supports the assertion of legitimate

  governmental interest, and therefore, does not constitute a violation of [plaintiff’s] due process

  rights.” Id. (internal citation omitted). In Shepherd v. Ault, 982 F.Supp. 643 (N.D. Iowa 1997),


                                                   39
Case 5:22-cv-05238-TLB-CDC Document 74                Filed 07/11/24 Page 40 of 49 PageID #: 880




  however, the district court denied summary judgment, concluding that plaintiffs’ claims that they

  were subject to constant illumination for 283 and 550 nights, respectively, gives rise to “[v]ery

  different inferences [] concerning the effects of constant illumination when exposure to that

  condition is long term,” including sleep deprivation. Shepherd, 982 F. Supp. at 648.

          This case, of course, is not about “constant illumination,” but about a cell with a

  purportedly “dim” light, then a “flickering” light and then no light at all. In Shepherd, the court

  also observed that “[t]here can be little doubt that subjecting prisoners to continuous darkness

  would at least raise a constitutional question.” Shepherd, 982 F. Supp. 648 (citing Wycoff v.

  Brewer, 572 F.2d 1260, 1263 & n.5 (8th Cir. 1978)). Further, “generally governmental authorities

  cannot deny basic human necessities to persons in custody… Those necessities include light, heat,

  ventilation, sanitation, clothing [,] and a proper diet.” Green v. Baron, 879 F.2d 305, 309 (8th Cir.

  1989). But this level of generality does not put Defendant Caudle (or anyone else) on notice that

  failing to promptly repair a light fixture for six weeks, thereby allowing the light to “dim,” then

  “flicker,” and finally go “out,” violates a detainee’s constitutional rights where the detainee is

  exposed to light, and thus the “darkness” was not continuous. Defendant Caudle is therefore

  entitled to summary judgment in his individual capacity as to Plaintiff’s claims against him for

  exposing him to sweltering temperatures, a leaky toilet, backed up sewage, black mold, and a

  broken light fixture. 21
                       20F




  21
     In Plaintiff’s Statement of Disputed Material Facts, he contends that Defendant Caudle
  intentionally ignored his light for two weeks because Plaintiff was vocal with his complaints about
  “him, Tim Helder, Jay Cantrell, and the rest of the corrupt and incompetent deputies of Washington
  County Sheriff’s Department.” (ECF No. 67, pp. 12-13). To the extent that Plaintiff asserts that
  Defendant Caudle’s inaction was retaliation against him for exercising his First Amendment right
  to free speech, Plaintiff did not assert this claim in his Complaint. (ECF No. 1). Thus, the
  Defendants have not had an opportunity to respond to it. This Court will not consider a new claim
                                                    40
Case 5:22-cv-05238-TLB-CDC Document 74                  Filed 07/11/24 Page 41 of 49 PageID #: 881




         3. Defendants Nunziato, Martinez Fry, Beck, Drumright, Bilbrey

         This leaves Plaintiff’s claim against Defendants Nunziato, Martinez, Fry, Beck, Drumright,

  and Bilbrey in their individual capacities for “harass[ing] and antagoniz[ing] [him] by forcing

  themselves into [his] cell with brooms and mops contaminated with urine and feces and spreading

  it all over [his] floor” after he filed numerous complaints and grievances about the purportedly

  filthy condition of the WCDC. (ECF No. 1, p. 12). There is no dispute that Plaintiff filed

  multiple grievances about the general condition of the WCDC. (ECF No. 35-3). But Defendants

  Nunziato, Martinez, Fry, Beck, Drumright, and Bilbrey dispute that they intentionally used mops

  contaminated with urine and feces to clean his cell. (ECF Nos. 35-15; 35-16; 35-17; 35-18; 35-

  19; 35-20).

          “When there is no dispute among the parties as to the relevant facts . . . a court should

  always be able to determine as a matter of law whether or not an officer is eligible for qualified

  immunity.” New v. Denver, 787 F.3d 895, 899 (8th Cir. 2015) (quoting Pace v. City of Des

  Moines, 201 F.3d 1050, 1056 (8th Cir. 2000)). Here, however, there is a relevant fact dispute

  about what the Defendants did (or did not do). The Defendants swear under penalty of perjury

  that they did not use contaminated mops to clean Plaintiff’s cell, Plaintiff swears under penalty of

  perjury that they did. While Defendants contend that this dispute is immaterial because Plaintiff

  was responsible for cleaning his own cell, (ECF No. 35-3, p. 2; ECF No. 37, p. 28), it appears this

  fact is also in dispute, see (ECF No. 67, p. 203).

         Viewed in the light most favorable to Plaintiff, a reasonable jury could conclude that given

  Plaintiff’s frequent grievances about his conditions of confinement at the WCDC, and the



  on summary judgment.
                                                   41
Case 5:22-cv-05238-TLB-CDC Document 74                   Filed 07/11/24 Page 42 of 49 PageID #: 882




  Defendants’ knowledge of those grievances, the Defendants intended to punish Plaintiff by

  cleaning his cell with mops contaminated with feces and urine. Defendants Nunziato, Martinez,

  Bilbrey, Fry, Drumright, and Beck should therefore not be entitled to qualified immunity at

  summary judgment. See Pace, 201 F.3d at 1056 (“In the event that a genuine dispute exists

  concerning predicate facts material to the qualified immunity issue, the defendant is not entitled to

  summary judgment on that ground.”).

         On final matter requires some discussion, recognizing that pro se pleadings are to be

  liberally construed, this Court also views Plaintiff’s allegations against Defendants Nunziato,

  Martinez, Bilbrey, Fry, Drumright, and Beck as a retaliation claim. To prevail on a retaliation

  claim, a plaintiff must show that “[he] engaged in protected [First Amendment] activity.” Molina

  v. City of St. Louis, Missouri, 59 F.4th 334, 338 (8th Cir. 2023) (internal citation omitted). “If

  [the plaintiff] can make that showing, then the focus shifts to whether the officers took an adverse

  action . . . that would chill a person of ordinary firmness from continuing in the protected activity.”

  Id. (cleaned up). If so, “then the next hurdle is causation: was the First Amendment activity a ‘but-

  for cause’ of the injury?” Id.    To get past qualified immunity, the plaintiff must show also that

  it would have been “sufficiently clear [to] every reasonable official ... that what [they were] doing

  violate[d]” the First Amendment. Id.

         Here, this Court did not specifically frame Plaintiff’s claim as a potential retaliation claim

  in its preservice screening report and recommendation. (ECF No. 8). The Defendants, in their

  Motion for Summary Judgment, did not analyze this claim in terms of retaliation. Thus, this Court

  orders Defendants to file a supplemental motion for summary judgment specifically (and

  exclusively) analyzing Plaintiff’s claim against Defendants Nunziato, Martinez, Bilbrey, Fry,


                                                    42
Case 5:22-cv-05238-TLB-CDC Document 74                   Filed 07/11/24 Page 43 of 49 PageID #: 883




  Drumright, and Beck as a First Amendment retaliation claim within 45 days of the date of this

  report and recommendation. Upon receipt, Plaintiff will be provided a reasonable opportunity to

  respond. No further discovery is authorized.

         B.      Official Capacity Claims

         This leaves Plaintiff’s official capacity claims. “Official-capacity liability under 42

  U.S.C. § 1983 occurs only when a constitutional injury is caused by the government’s policy or

  custom, whether made by its lawmakers or by those whose edicts or acts may fairly be said to

  represent official policy.” Gladden v. Richbourg, 759 F.3d 960, 968 (8th Cir. 2014) (quoting

  Grayson v. Ross, 454 F.3d 802, 810-11 (8th Cir. 2006)). “Although there must be an

  unconstitutional act by a municipal employee before a municipality can be held liable, there need

  not be a finding that a municipal employee is liable in his or her individual capacity.” Webb v. City

  of Maplewood, 889 F.3d 483, 487 (8th Cir. 2018) (internal quotations and citations omitted).

         1. Defendant Cantrell

         The Court first considers Plaintiff’s official capacity claims against Defendant Cantrell for

  failure to supervise or train.    A “local government may be subject to § 1983 liability for

  ‘inadequate training of its employees where (1) the county’s training practices were inadequate;

  (2) the county was deliberately indifference to the rights of others in adopting them, such that the

  failure to train reflects a deliberate or conscious choice by the county; and (3) an alleged deficiency

  in the training procedures actually caused the plaintiff’s injury.” Parrish v. Ball, 594 F.3d 993,

  997 (8th Cir. 2010) (cleaned up). “It is necessary to show that in light of the duties assigned to

  specific officers or employees the need for more or different training is so obvious, and the

  inadequacy so likely to result in the violation of constitutional rights, that the policymakers of the


                                                    43
Case 5:22-cv-05238-TLB-CDC Document 74                   Filed 07/11/24 Page 44 of 49 PageID #: 884




  city can reasonably be said to have been deliberately indifferent to the need.” Andrews v. Fowler,

  98 F.3d 1069, 1076 (8th Cir. 1996) (internal quotation omitted). Put differently, “the plaintiff

  must demonstrate that the [municipality] had notice that its procedures were inadequate and likely

  to result in a violation of constitutional rights.” Id.

         With respect to Defendant Caudle, it is undisputed that he has “had specific training

  regarding the maintenance of various functions of the Washington County Detention Center. That

  training has been provided by professionals or, in some instances, by the manufacturer of the

  products used in the Washington County Detention Center such as the plumbing fixtures.” (ECF

  No. 35-14, p. 2). Even if this training is deficient, however, “the identified deficiency in [] a

  training program must be closely related to the ultimate injury such that the deficiency in training

  actually caused the [official’s] offending conduct.” Andrews, 98 F.3d at 1077.

         Here, the purported deficiency in Defendant Caudle’s training—as Plaintiff sees it—is that

  Defendant Caudle did not act faster, more efficiently, or more effectively in performing his job

  duties. The problem with this argument, however, is that Plaintiff simply cannot demonstrate that

  a deficiency in training caused him to be exposed to black mold, “sweltering temperatures” for

  two days, a leaky toilet for over a month, a toilet backed-up with sewage for three days, or a faulty

  light fixture for six weeks. Indeed, it is undisputed that detainees block the air vents to manipulate

  the temperatures in their cells, that detainees stuff clothing into the pipes to interfere with the

  plumbing, and that the facility is aging, suffers from suboptimal staffing levels, and is at a “near

  constant state of being overpopulated.” (ECF No. 35-22). The conditions Plaintiff experienced,

  therefore, are not necessarily closely related to Defendant Caudle’s training (or lack thereof), but

  to the conduct of other detainees and the operational capacity of the facility itself.


                                                    44
Case 5:22-cv-05238-TLB-CDC Document 74                 Filed 07/11/24 Page 45 of 49 PageID #: 885




         Similarly, Defendants Nunziato, Martinez, Bilbrey, Beck, Drumright and Fry all completed

  the “basic detention officer course” and are familiar with the policies and procedures of the jail,

  including its cleaning practices. (ECF No. 35-15, p. 1); (ECF No. 35-16, p. 1); (ECF No. 35-17, p.

  1); (ECF No. 35-18, p. 1); (ECF No. 35-19, p. 1); (ECF No. 35-20, p. 1). Defendant Bilbrey, for

  one, describes the “detention officer training program” as “a program that includes two weeks of

  classroom and practical training and then a few more weeks of training in the detention center

  under a training officer.” (ECF No. 35-17, p. 1).

         WCDC cleaning policies, moreover, require that “[c]ells and dayrooms [are to be] kept

  clean and sanitary at all times by daily sweeping and mopping. . .. Floors shall be swept and

  mopped daily or, if needed, more often. Disinfectants, germicides, and deodorants shall be used

  in proper quantity.” (ECF No. 35-11, p. 5). Further, these policies explain that “[t]he primary

  objective of the detention center is to maintain positive control over incarcerated individuals and

  to ensure an arrestee’s timely appearance in court. It is NOT to inflict punishment.” Id. at p. 6

  (emphasis in the original). On their face, these policies do not appear constitutionally deficient.

  But even if they were, Plaintiff has failed to show that a deficiency in training or supervision

  caused Defendants Nunziato, Martinez, Bilbrey, Beck, Drumright, and Fry to purportedly

  “punish” him by using dirty mops to clean his cell. Defendant Cantrell, therefore, is entitled to

  summary judgment on the claims against him in his official capacity.

         2. Defendants Caudle, Nunziato, Martinez, Bilbrey, Beck, Drumright, and Fry

         This Court now turns to Plaintiff’s official capacity claims against Defendants Caudle,

  Nunziato, Martinez, Bilbrey, Beck, Drumright, and Fry.

         As a threshold matter, there is no evidence to suggest that Defendants Caudle, Nunziato,


                                                  45
Case 5:22-cv-05238-TLB-CDC Document 74                 Filed 07/11/24 Page 46 of 49 PageID #: 886




  Martinez, Bilbrey, Beck, Drumright and Fry were acting pursuant to some unconstitutional official

  policy. In addition to the cleaning policies noted above, WCDC policies require “the detention

  center [to be] kept at a reasonable temperature and be properly ventilated at all times.” (ECF No.

  35-11, p. 5). Policies also require “sufficient lighting [be] provided commensurate with the time

  of day. Lighting shall be sufficient to read, write, and work during daylight hours. Lighting during

  nighttime shall be sufficient for officers and detainees to move around safely within the detention

  center.” Id. Thus, this Court considers whether the Defendants acted pursuant to some

  unconstitutional unofficial custom.

         To establish the existence of a municipal “custom,” a plaintiff must show:

                 1. The existence of a continuing, widespread, persistent pattern of
                    unconstitutional misconduct by the municipality’s employees;

                 2. Deliberate indifference to or tacit authorization of such conduct
                    by the municipality’s policymaking officials after notice to the
                    officials of that misconduct; and

                 3. The plaintiff’s injury by acts pursuant to the municipality’s
                    custom, i.e., proof that the custom was the moving force behind
                    the constitutional violation.

  Mettler v. Whitledge, 165 F.3d 1197, 1204 (8th Cir.1999).

                                          Defendant Caudle

         With respect to Defendant Caudle, as the Court understands it, Plaintiff points to the pages

  of WCDC Help Desk maintenance tickets requesting that Defendant Caudle address heating,

  cooling, plumbing, and lighting problems throughout the WCDC as evidence of “a continuing,

  widespread, persistent pattern of unconstitutional misconduct by the municipality’s employees.”

  (ECF No. 67, pp. 32-135). This Court does not agree.

         To be sure, these maintenance tickets reflect repeated requests for Defendant Caudle to

                                                  46
Case 5:22-cv-05238-TLB-CDC Document 74                  Filed 07/11/24 Page 47 of 49 PageID #: 887




  address maintenance needs throughout the facility. (ECF No. 67, pp. 32-135). But they also reflect

  Defendant Caudle’s efforts to address those requests. Id. While Plaintiff plainly objects to the

  quality of those efforts, he fails short of identifying multiple instances where Defendant Caudle’s

  inaction (or slow to action) amounts to a constitutional violation. Thus, the Court finds that there

  is no evidence on summary judgment of a “pattern of unconstitutional conduct [] so pervasive and

  widespread ‘as to have the effect and force of law.’” Brewington v. Keener, 902 F.3d 796, 801 (8th

  Cir. 2018) (quoting Fowler, 98 F.3d at 1075)).

         Further, even if the evidence established the requisite pattern, Plaintiff’s official capacity

  claim fails on causation (element three). To succeed on an official capacity claim, the plaintiff

  must show that “a constitutional violation was committed pursuant to an official ‘policy or custom’

  and that such ‘policy or custom’ was the moving force behind plaintiff’s injury.” Burlison v.

  Springfield Pub. Schs, 708 F.3d 1034, 1041 (8th Cir. 2013) (internal quotation omitted). Here, as

  noted above, although Plaintiff contends that Defendant Caudle’s failure to properly maintain the

  facility caused his constitutional rights to be violated, it is undisputed that detainees created

  maintenance problems by clogging toilets and blocking air vents, for example. Thus, Plaintiff has

  failed to establish that the purported custom of failing to properly maintain the facility was the

  moving force of the violation as opposed to some other intervening factors, such as vandalism by

  detainees. Defendants, therefore, should be granted summary judgment as to the claim against

  Defendant Caudle in his official capacity.

                Defendants Nunziato, Martinez, Bilbrey, Beck, Drumright, and Fry

         While the individual capacity claims against Defendants Nunziato, Martinez, Bilbrey,

  Beck, Drumright, and Fry for spreading feces and urine in Plaintiff’s cell using dirty mops survives


                                                   47
Case 5:22-cv-05238-TLB-CDC Document 74                  Filed 07/11/24 Page 48 of 49 PageID #: 888




  summary judgment, Plaintiff’s corresponding official capacity claim meets a different fate. As

  noted above, to establish an official capacity claim, a plaintiff must show, among other things,

  “deliberate indifference to or tacit authorization of such conduct by the municipality’s

  policymaking officials after notice to the officials of that misconduct.” Mettler, 165 F.3d at 1204.

  Here, Plaintiff asserts that when he discussed the issue with Captain Ake, Captain Ake ordered

  detention officers to clean the cell containing inmate feces and urine last rather than first so that

  those same mops and brooms would not later be used to clean Plaintiff’s cell. (ECF No. 67, p.

  15). Even if Captain Ake was a “policymaking official” for the purposes of official capacity

  claims and was thus on notice of the fact that detention officers were using mops and brooms used

  to clean urine and feces in other cells during the same “cleaning session,” Captain Ake, by ordering

  detention officers to clean the cells in a different order, was plainly not “deliberately indifferent”

  to the alleged violation. By contrast, he attempted to address it. Plaintiff’s official capacity

  claims against Defendants Nunziato, Martinez, Bilbrey, Fry, Drumright, and Beck are therefore

  entitled to summary judgment.

                                         V. CONCLUSION

          Accordingly, for the reasons described above, this Court recommends that Defendants’

  Motion for Summary Judgment be GRANTED, in part, and DENIED, in part, as follows:

     1. Defendants’ Motion for Summary Judgment as to Plaintiff’s individual capacity claims

          against Defendants Nunziato, Martinez, Bilbrey, Beck, Drumright, and Fry for allegedly

          spreading feces and urine in his cell is DENIED.

     2. Defendants’ Motion for Summary Judgment is GRANTED in all other respects.

     3.    Defendants are further ORDERED to submit a supplemental motion for summary


                                                   48
Case 5:22-cv-05238-TLB-CDC Document 74                 Filed 07/11/24 Page 49 of 49 PageID #: 889




         judgment addressing Plaintiff’s claim that Defendants Nunziato, Martinez, Bilbrey, Beck,

         Drumright and Fry retaliated against him in violation of the First Amendment by using

         dirty mops to clean his cell within 45 days of the date of this order. Upon receipt, Plaintiff

         will be directed to respond.

         The parties have fourteen days from receipt of the Report and Recommendation in

  which to file written objections pursuant to 28 U.S.C. § 636(b)(1). The failure to file timely

  objections may result in waiver of the right to appeal questions of fact. The parties are

  reminded that objections must be both timely and specific to trigger de novo review by the

  district court.

         RECOMMENDED this 11th day of July 2024.




                                                        CHRISTY COMSTOCK
                                                        UNITED STATES MAGISTRATE JUDGE




                                                  49
